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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 22-cv-02622-RBJ

  UNITED STATES OF AMERICA,

          Plaintiff,

  v.

  LIBERTY GLOBAL, INC.,

          Defendant.




                                      JOINT STATUS REPORT



          The parties submit this joint status report as they had suggested in their earlier report.

  (See Dkt. 49 ¶ 5.) The current status of this matter is described below. The parties suggest that

  they continue to engage in discovery and otherwise work toward narrowing any issues that must

  be decided by the Court, and that they submit a further status report on or around November 1,

  2024.

          1.      This is one of two lawsuits concerning a series of transactions known as Project

  Soy. The cases turn on Liberty Global, Inc.’s (LGI) claim for a tax deduction under 26 U.S.C.

  § 245A for its 2018 tax year.

          2.      In the lead case, Liberty Global, Inc. v. United States, Civil Action No. 20-cv-

  3501-RBJ (LGI refund suit), LGI sought a refund of taxes it contended it had overpaid in

  connection with Project Soy. In the second case, i.e., the instant suit (US collection action), the

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  United States seeks additional taxes, penalties, and interest that it contends LGI owes in

  connection with Project Soy, for the same 2018 tax year, but that are above the amount LGI put

  at issue in the refund suit.

          3.      The Court decided LGI’s refund suit on cross-motions for summary judgment on

  October 31, 2023, and it entered judgment in favor of the United States. (Docs. 87 and 88.) LGI

  appealed the adverse judgment to the Tenth Circuit, and the case is scheduled for oral argument

  in Denver on November 19, 2024. Liberty Global, Inc. v. United States, No. 23-1410 (10th Cir.).

          4.      At present, the parties are unable to agree to a judgment in this case, the US

  collection action. As described in prior filings (see, e.g., Dkt. 46 at 4), they disagree on the

  manner in which to calculate the effect of this Court’s decision in the refund suit on the Project

  Soy transactions.

          5.      The United States issued its first written discovery requests on May 15, 2024. On

  May 16, 2024, the Court held a scheduling conference. (See Dkt 47 (minute entry); Dkt 48

  (transcript).) At the conference, the Court discussed the procedure for deciding open issues

  before a final judgment could be entered, and suggested that the Court and parties may benefit

  from a Tenth Circuit decision in LGI’s refund suit.

          6.      The Court has neither stayed this case pending the Tenth Circuit decision nor

  entered a scheduling order. LGI provided its responses to the United States’ discovery requests

  on September 9, 2024. The United States is analyzing the responses.

          7.      The parties will continue the discovery process, with the goal of substantially

  developing the factual issues here while the refund suit appeal remains pending in the Tenth




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  Circuit. They suggest that they report back on or about November 1, 2024, to advise the Court

  whether they need the Court’s assistance to resolve matters relating to their discussions.

         Respectfully submitted this 13th day of September, 2024.


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                                 CERTIFICATE OF SERVICE

         I hereby certify that on September 13, 2024, I served a copy of the foregoing document

  by filing it through the Court’s CM/ECF system, which will send an electronic copy to all

  counsel of record.



                                                      Respectfully submitted,

                                                      /s/ Nathan Wacker
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